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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 IN RE:                                                              CASE NO.: 6:21-bk-04261-LVV
                                                                                     CHAPTER 7
 Lydia H Crayton,
 dba Shelf Overstocks
       Debtor.
 _________________________________/

                   MOTION FOR RELIEF FROM AUTOMATIC STAY
                       (Final Judgment of Foreclosure Obtained)

                               NOTICE OF OPPORTUNITY TO
                            OBJECT AND REQUEST FOR HEARING

 Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
 further notice or hearing unless a party in interest files a response within twenty one (21) days
 from the date set forth on the attached proof of service, plus an additional three days for service
 if any party was served by U.S. Mail.

 If you object to the relief requested in this paper, you must file a response with the Clerk of the
 Court at George C. Young Federal Courthouse, 400 W. Washington Street, Suite 5100, Orlando,
 FL 32801 and serve a copy on the movant’s attorney, Attorney for Secured Creditor, at
 Robertson, Anschutz, Schneid, Crane & Partners, PLLC, 6409 Congress Ave., Suite 100, Boca
 Raton, FL 33487, and any other appropriate persons within the time allowed. If you file and
 serve a response within the time permitted, the Court will either schedule and notify you of a
 hearing, or consider the response and grant or deny the relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not
 oppose the relief requested in the paper, will proceed to consider the paper without further notice
 or hearing, and may grant the relief requested.

       Secured Creditor, U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR

RESIDENTIAL         FUNDING        MORTGAGE          SECURITIES        I,     INC.,   MORTGAGE

PASS-THROUGH CERTIFICATES, SERIES 2007-SA2, by and through the undersigned

counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a modification of the

automatic stay provisions for cause, and, in support thereof, states the following:

   1. Debtor(s), Lydia H Crayton (dba Shelf Overstocks), filed a voluntary petition pursuant to



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   Chapter Chapter 7 of the United States Bankruptcy Code on September 21, 2021.

2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C.

   § 1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

   statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

   stay of any act against property of the estate under § 362(a) shall continue until this Court

   orders or the stay is otherwise terminated by operation of law.

4. Secured Creditor filed a foreclosure complaint against the Debtor(s) on December 28,

   2016 in the Circuit Court for the Ninth Judicial Circuit in and for Orange County, Case

   Number: 2016-CA-011267-O, due to the default under the terms of the Note and

   Mortgage securing Secured Creditor’s interest in certain real property legally described

   as:




   This property is located at the street address of: 706 Gentry Court, Gotha, FL 34734.

5. A Final Judgment of Foreclosure (“Judgment”) was entered against the Debtor(s) on May

   31, 2019 in the amount of $677,119.87. A true and accurate copy of the Judgment

   attached hereto as Exhibit “A.” The Judgment has not been satisfied by the Debtor(s).

6. The appraised value of the property is $423,012.00. See Exhibit “B” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8).




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7. As of the date of this Motion, the Debtor has not filed Schedules nor Statement of

   Intentions pertaining to said property; therefore, the treatment of the subject property is

   unclear. The Trustee has not abandoned the property.

8. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

9. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

10. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The

   value of the collateral is insufficient in and of itself to provide adequate protection which

   the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

   additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

   Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

   Debtor’s assets.

11. Once the stay is terminated, the Debtor will have minimal motivation to insure, preserve,

   or protect the collateral; therefore, Secured Creditor requests that the Court waive the

   14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

12. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will


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       incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

       and protecting the property, all of which additional sums are secured by the lien of the

       mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

       alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

       pending or subsequent foreclosure proceeding.

   13. A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

Date: October 1, 2021

                                             Robertson, Anschutz, Schneid, Crane & Partners,
                                             PLLC
                                             Attorney for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-997-6909
                                             By: /s/ Christopher P. Salamone
                                             Christopher P. Salamone, Esquire
                                             Florida Bar Number 75951
                                             Email: csalamone@raslg.com




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 1, 2021, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:

Lydia H Crayton
dba Shelf Overstocks
9907 8th Street #736
Gotha, FL 34734

Dennis D Kennedy
P. O. Box 541848
Merritt Island, FL 32954

United States Trustee - ORL7/13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801

                                           Robertson, Anschutz, Schneid, Crane & Partners,
                                           PLLC
                                           Attorney for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-997-6909
                                           By: /s/ Christopher P. Salamone
                                           Christopher P. Salamone, Esquire
                                           Florida Bar Number 75951
                                           Email: csalamone@raslg.com




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    Property Record -                                               Orange County Property Appraiser •
                                                                                   http://www.ocpafl.org



    Property Summary as of 09/28/2021
     Property Name
     706 Gentry Ct
                                      Mailing Address
     Names
     El Amir Aqif                     9907 8Th St Unit 736
                                      Gotha, FL 34734-7030
     Lydia L El Kindred Trust
                                      Physical Address
     Municipality
                                      706 Gentry Ct
     ORG - Un-Incorporated
                                      Gotha, FL 34734
     Property Use
     0103 - Single Fam Class III




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  Value and Taxes
  Historical Value and Tax Benefits

  Tax Year
                             Land          Building(s)           Feature(s)     Market Value      Assessed Value
  Values
  2021                     $85,000     +     $317,512        +     $20,500 = $423,012 (6.0%) $423,012 (30%)
  2020                     $85,000     +     $292,969        +     $21,000 = $398,969 (12%) $324,732 (2.3%)
  2019                     $68,000     +     $267,989        +     $21,500 = $357,489 (1.9%) $317,431 (1.9%)
  2018                     $68,000     +     $260,995        +     $22,000 = $350,995        $311,512

                               Original                               Other
  Tax Year Benefits                         Additional Hx                            SOH Cap         Tax Savings
                             Homestead                            Exemptions
  2021                              n/a                n/a               n/a                n/a                $0
  2020                         $25,000            $25,000                 $0           $74,237             $1,809
  2019                         $25,000            $25,000                 $0           $40,058             $1,282
  2018                         $25,000            $25,000                 $0           $39,483             $1,286

  2021 Taxable Value and Estimate of Proposed Taxes

  Taxing Authority                     Assd Value   Exemption      Tax Value   Millage Rate       Taxes       %
  Public Schools: By State Law (Rle)   $423,012     $0             $423,012    3.4890 (-3.33%)    $1,475.89   22 %
  Public Schools: By Local Board       $423,012     $0             $423,012    3.2480 (0.00%)     $1,373.94   21 %
  Orange County (General)              $423,012     $0             $423,012    4.4347 (0.00%)     $1,875.93   28 %
  Unincorporated County Fire           $423,012     $0             $423,012    2.2437 (0.00%)     $949.11     14 %
  Unincorporated Taxing District       $423,012     $0             $423,012    1.8043 (0.00%)     $763.24     11 %
  Library - Operating Budget           $423,012     $0             $423,012    0.3748 (0.00%)     $158.54     2%
  St Johns Water Management District   $423,012     $0             $423,012    0.2287 (0.00%)     $96.74      1%
                                                                               15.8232            $6,693.39

  2021 Non-Ad Valorem Assessments

  Levying Authority         Assessment Description              Units Rate Assessment
  COUNTY SPECIAL ASSESSMENT WASTE PRO - GARBAGE - (407)836-6601 1.00 $250.00 $250.00
                                                                             $250.00


                                                                                                                     2/6
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  Property Features
  Property Description
  WINDERMERE CHASE PHASE 2 42/106 LOT 37

  Total Land Area

  12,053 sqft (+/-)             |         0.28 acres (+/-)                 GIS Calculated

  Land

  Land Use Code            Zoning Land Units      Unit Price Land Value Class Unit Price           Class Value
  0100 - Single Family     P-D    1 LOT(S)        $85,000.00 $85,000    $0.00                      $85,000

  Buildings

   Model Code              01 - Single Fam Residence         Subarea Description            Sqft   Value
   Type Code               0103 - Single Fam Class III       BAS - Base Area                2466   $270,323
   Building Value          $317,512                          FGR - Fin Garage               462    $25,322
   Estimated New Cost      $369,200                          FOP - F/Opn Prch               254    $7,016
   Actual Year Built       2000                              FUS - F/Up Story               714    $66,539
   Beds                    5
   Baths                   3.0
   Floors                  2
   Gross Area              3896 sqft
   Living Area             3180 sqft
   Exterior Wall           Cb.Stucco
   Interior Wall           Drywall




  Extra Features

  Description              Date Built           Units               Unit Price           XFOB Value
  PL2 - Pool 2             01/01/2007           1 Unit(s)           $25,000.00           $18,500
  SPA1 - Spa 1             01/01/2007           1 Unit(s)           $2,000.00            $2,000

  Sales

                                                                                                                 3/6
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  Sales History

             Sale   Instrument
  Sale Date                     Book/Page Deed Code                      Seller(s)    Buyer(s)         Vac/Imp
             Amount #
  05/01/2020 $100   20200280965 /         Quitclaim Deed                 El Amir      El Amir Aqif     Improved
                                                                         Aqif         Lydia L El
                                                                         El Lydia L   Kindred Trust
  04/29/2020 $100       20200264286 /              Quitclaim Deed        Crayton      El Amir Aqif     Improved
                                                                         Lydia H      El Lydia L
                                                                         Crayton
                                                                         Andrae
  11/20/2006 $100       20070302659 09251 / 2941 Quitclaim Deed          Crayton      Crayton Lydia Improved
                                                                         Lydia        H
                                                                                      Crayton Andrae
  02/11/2005 $335,000 20050113897 07831 / 2889 Warranty Deed             Gates        Crayton Lydia Improved
                                                                         Joseph
                                                                         Gates
                                                                         Mirian
  12/13/2000 $228,100 20000545032 06159 / 0208 Special Warranty          Pulte        Gates Joseph     Improved
                                                                         Home         Gates Mirian
                                                                         Corp

  Similar Sales

                                    Sale                                               Instrument
  Address                    Sale Date               $/SQFT Deed Code Beds/Baths                   Book/Page
                                    Amount                                             #
  10230 Windermere Chase 08/18/2021 $505,000         $185     Warranty    4/3          20210516341 /
  Blvd                                                        Deed
  912 Kingsridge Cir     06/29/2021 $466,500         $162     Warranty    4/2          20210399922 /
                                                              Deed
  10225 Windermere Chase     04/23/2021 $446,000     $193     Warranty    4/2          20210361138 /
  Blvd                                                        Deed
  10219 Windermere Chase     04/12/2021 $475,000     $149     Warranty    3/3          20210242410 /
  Blvd                                                        Deed
  10242 Windermere Chase     11/16/2020 $468,000     $147     Warranty    3/3          20200665475 /
  Blvd                                                        Deed
  701 Gentry Ct              10/01/2020 $344,000     $147     Warranty    4/3          20200520326 /
                                                              Deed
  10230 Windermere Chase 09/29/2020 $440,000         $162     Warranty    4/3          20200515045 /
  Blvd                                                        Deed

  Services for Location
  TPP Accounts At Location

  Account      Market Value        Taxable Value            Business Name(s)          Business Address
  There are no TPP Accounts associated with this parcel.

  Schools

                                                                                                                 4/6
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  Thornebrooke (Elementary)
   Principal                        Korey Bawden
   Office Phone                     407.909.1301
   Grades                           2019: A | 2018: A | 2017: A
  Olympia (High School)
   Principal                        Christy Lyn Gorberg
   Office Phone                     407.905.6400
   Grades                           2019: A | 2018: B | 2017: B
  Gotha (Middle School)
   Principal                        Monica Emery
   Office Phone                     407.521.2360
   Grades                           2019: B | 2018: C | 2017: A

  Community/Neighborhood Association

  Name                    Windermere Chase Homeowners Association, Inc.
  Gated?                  Yes
  Number Of
                          116
  Households

  Utilities/Services

  Electric                        Duke Energy
  Water                           Orange County
  Recycling (Thursday)            Orange County
  Trash (Thursday)                Orange County
  Yard Waste (Friday)             Orange County

  Elected Officials

  County Commissioner           Nicole Wilson
  State Representative          Geraldine F. "Geri" Thompson
  State Senate                  Victor M. Torres, Jr
  US Representative             Val Demings
  School Board Representative   Pam Gould
  Orange County Property
                                Amy Mercado
  Appraiser

  Nearby Amenities (1 mile radius)

  ATMS                    3
  Banks & Financial
                          4
  Institutions
  Beauty Salons           5
  Child Daycare           3
                                                                                            5/6
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  Dentists Offices        6
  Dry Cleaners            2
  Gas Stations            2
  Grocery Store           1
  Gyms & Fitness          5
  Nail Salons             4
  Optometrists Offices    1
  Pharmacy                1
  Restaurants             12

  Market Stats
  Sales Within Last 1 Year

  Windermere Chase Ph 2

                Sales Within Last 6 Months                Sales Between 6 Months To One Year
                Count Median       Average     Volume     Count Median       Average     Volume
  Single Family        $470,750 $473,125                         $440,000 $417,333
                4                              $1,892,500 3                              $1,252,000
  Residential          ($174/SqFt) ($173/SqFt)                   ($147/SqFt) ($152/SqFt)

  Windermere Chase (All Phases)

                Sales Within Last 6 Months                Sales Between 6 Months To One Year
                Count Median       Average     Volume     Count Median       Average     Volume
  Single Family        $470,750 $458,125                         $445,000 $425,500
                8                              $3,665,000 4                              $1,702,000
  Residential          ($159/SqFt) ($156/SqFt)                   ($147/SqFt) ($144/SqFt)




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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                               www.flmb.uscourts.gov

 IN RE:                                                           CASE NO.: 6:21-bk-04261-LVV
                                                                                  CHAPTER 7
 Lydia H Crayton,
 dba Shelf Overstocks
        Debtor.

 _________________________________/

             ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on U.S. BANK NATIONAL
ASSOCIATION, AS TRUSTEE FOR RESIDENTIAL FUNDING MORTGAGE SECURITIES
I, INC., MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2007-SA2’s (“Secured
Creditor”) Motion for Relief from Stay (Docket No. ____). No appropriate response has been
filed in accordance with Local Rule 2002-4. Accordingly, it is:

       ORDERED:


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   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured
       Creditor’s interest in the following property located at 706 Gentry Court, Gotha, FL
       34734, in Orange County, Florida, and legally described as:




   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is granted.
   6. Attorneys’ fees in the amount of $345.00 and costs in the amount of $188.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.


                                               ###
Attorney, Christopher P. Salamone, is directed to serve a copy of this order on interested parties
that do not receive electronic notice via CM/ECF and file a proof of service within 3 days of
entry of the order.




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